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                            No. 21-11858


         IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT


                   MICHAEL PEYTON GUNN,

                        Petitioner-Appellant,

                                   v.

                UNITED STATES OF AMERICA,

                        Respondent-Appellee.


          On Appeal from the United States District Court
               for the Southern District of Georgia


                  GOVERNMENT’S APPENDIX


                                 DAVID H. ESTES
                                 UNITED STATES ATTORNEY

                                 Justin G. Davids
                                 Assistant United States Attorney
                                 United States Attorney’s Office
                                 22 Barnard Street, Suite 300
                                 Savannah, Georgia 31401
                                 (912) 652-4422
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         CERTIFICATE OF INTERESTED PERSONS
        AND CORPORATE DISCLOSURE STATEMENT

     COMES NOW the United States of America, by and through

David H. Estes, United States Attorney for the Southern District of

Georgia, and files its Certificate of Interested Persons and Corporate

Disclosure Statement as follows:

    Christine, Bobby L.

    Davids, Justin G.

    Doe, Jane

    Epps, Hon. Brian K.

    Estes, David H.

    Groover, Tania D.

    Gunn, Amanda Howard

    Gunn, Michael Peyton

    Hall, Hon. J. Randal

    Knoche, Karl I.

    Lyons, Tara M.

    Merzlak, Shawn Michael

    Nelson, Frank Adam



                               C-1 of 2
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     Wahman, Sheila Grider

     No publicly traded company or corporation has an interest in the

outcome of this case or appeal.




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                INDEX OF GOVERNMENT’S APPENDIX


                                                                        Docket Entry


1. Magistrate Court Docket — USA v. Gunn .......... Docket (1:20-MJ-007)

2. Criminal Complaint (REDACTED). ................................................DE 3

3. Court Clerk's Minutes — Initial Appearance / Complaint. ..........DE 18
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                     CERTIFICATE OF SERVICE

     The foregoing Government’s Supplemental Appendix was filed

today using the Court’s electronic filing system, and thereby served on

opposing counsel, at their Court-registered e-mail address, pursuant to

Fed. R. App. P. 25(c)(1)(C) and 25(c)(2), and 11th Cir. R. 25-3(a).

     Pursuant to 11th Cir. R. 30-1, two (2) paper copies of this Appendix

were also sent by Federal Express to:

     Clerk of Court
     United States Court of Appeals
     Eleventh Circuit
     56 Forsyth Street, N.W.
     Atlanta, Georgia 30303

     This 9th day of January, 2023.

                                  DAVID H. ESTES
                                  UNITED STATES ATTORNEY

                                  /s/ Justin G. Davids

                                  Justin G. Davids
                                  Assistant United States Attorney
                                  Missouri Bar No. 57661
                                  justin.davids@usdoj.gov



Post Office Box 8970
Savannah, Georgia 31412
Telephone Number: 912-652-4422
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                                                                DOCKET



                         Magistrate Court (1:20-MJ-007),

                             USA v. Michael Peyton Gunn
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                                            1:20mj7, USA v. Gunn
                                            US District Court Criminal Docket
                                      United States District Court, Georgia Southern
                                                        (Augusta)
                                        This case was retrieved on 12/20/2022

Header


 Date Filed: 02/07/2020                                                                          Class Code: Closed
 Other Docket: None                                                                              Closed: 07/06/2022




Participants


 Defendant
 Name                                                         Attorneys
 Michael Peyton Gunn                                          Shawn M. Merzlak
                                                              LEAD ATTORNEY;ATTORNEY TO BE NOTICED
                                                              Hawk Law Group
                                                              338 Telfair Street
                                                              Augusta, GA 30901
 TERMINATED: 07/06/2022                                       USA
                                                              smerzlak@hawklawgroup.com
                                                              706-722-3500 Fax: 866-295-0234 Designation: CJA
                                                              Appointment




 Charges                                                      Disposition
 Complaints: 18 U.S.C. 2251(b) Sexual Exploitation of
 Children
 Pending: none
 Terminated: none
 Case Assigned To: Magistrate Judge Brian K. Epps


 Defendant
 Name                                                         Attorneys
 209 Nicklaus Court, Evans, Georgia




 TERMINATED: 07/06/2022


U.S. Attorneys
Tara M. Lyons
                                                                                                        Page 2 of 3
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LEAD ATTORNEY;ATTORNEY TO BE NOTICED
U.S. Attorney's Office, SDGA
600 James Brown Blvd, Suite 200
Augusta, GA 30901
USA
tara.lyons@usdoj.gov
706-724-0517
Fax: 706-724-7728
Designation: Retained

Proceedings

 #       Date             Proceeding Text                                                      Source
 1       02/07/2020       MOTION to Seal, by Tara M. Lyons as to Michael Peyton Gunn.
                          (Document Sealed) (jlh) (Entered: 02/07/2020)
 2       02/07/2020       ORDER granting 1 Motion to Seal as to Michael Peyton Gunn (1).
                          Signed by Magistrate Judge Brian K. Epps on 02/06/2020. (jlh)
                          (Entered: 02/07/2020)
 3       02/07/2020       SEALED COMPLAINT as to Michael Peyton Gunn (1).
                          (Attachment: # 1 Affidavit.) (jlh) (Entered: 02/07/2020)
 9       02/07/2020       MOTION to Seal Search Warrant and All Related Papers by Tara
                          M. Lyons as to 209 Nicklaus Court, Evans, Georgia. (jlh) Modified
                          on 2/7/2020 (jlh). (Entered: 02/07/2020)
 10      02/07/2020       ORDER granting 9 Motion to Seal Search Warrant and All Related
                          Papers as to 209 Nicklaus Court, Evans, Georgia (2). Signed by
                          Magistrate Judge Brian K. Epps on 02/07/2020. (jlh) (Entered:
                          02/07/2020)
 13      02/07/2020       Minute Entry for proceedings held before Magistrate Judge Brian
                          K. Epps: Initial Appearance as to Michael Peyton Gunn held on
                          2/7/2020. Defendant intends to retain counsel. Court will
                          reconvene the week of February 10. (Court Reporter FTR.) (cjc)
                          (Additional attachment(s) added on 2/10/2020: # 1 corrected)
                          (cjc). (Entered: 02/07/2020)
 14      02/10/2020       Search Warrant Returned Executed on 02/07/2020 as to 209
                          Nicklaus Court, Evans, Georgia. (jlh) (Entered: 02/10/2020)
 15      02/10/2020       CJA 23 Financial Affidavit by Michael Peyton Gunn. (jlh) (Entered:
                          02/10/2020)
 16      02/11/2020       CJA 20 - TEXT ORDER for Appointment of Attorney Shawn
                          Merzlak as to Michael Peyton Gunn. Signed by Magistrate Judge
                          Brian K. Epps on 02/10/2020. (maa) (Entered: 02/11/2020)
 17      02/11/2020       Notice to CJA Counsel: CJA Packet attached including Post-
                          Conviction Obligations - CLICK HERE TO READ. (maa) (Entered:
                          02/11/2020)
 18      02/11/2020       Minute Entry for proceedings held before Magistrate Judge Brian
                          K. Epps: Initial Appearance as to Michael Peyton Gunn held on
                          2/11/2020. Defendant remanded pending trial. (Court Reporter
                          FTR.) (maa) (Entered: 02/11/2020)
 19      02/11/2020       MOTION to Unseal Case, by Tara M. Lyons as to Michael Peyton
                          Gunn, 209 Nicklaus Court, Evans, Georgia. (jlh) (Entered:
                          02/11/2020)
 20      02/11/2020       ORDER granting 19 Motion to Unseal Case as to Michael Peyton
                          Gunn (1), 209 Nicklaus Court, Evans, Georgia (2). Signed by
                          Magistrate Judge Brian K. Epps on 02/11/2020. (jlh) (Entered:
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 #         Date                Proceeding Text                                                          Source
                               02/11/2020)
 21        02/11/2020          ORDER directing Defendant to avoid any direct or indirect
                               communications of any kind or nature with the alleged minor
                               victim. All parties are directed to file briefs on or before Thursday,
                               February 13, 2020 regarding their respective positions on the
                               prohibition on communications with Defendant's wife. Until the
                               issuance of a final ruling, the Court Orders Defendant to avoid any
                               direct or indirect communications of any kind or nature with his
                               wife. Signed by Magistrate Judge Brian K. Epps on 02/11/2020.
                               (jlh) (Entered: 02/11/2020)
           02/11/2020          Set/Reset Deadlines as to Michael Peyton Gunn: Brief re 21 Order
                               due by 2/13/2020. (jlh) (Entered: 02/12/2020)
 22        02/12/2020          DETENTION ORDER as to Michael Peyton Gunn. Defendant is
                               committed to the custody of the Attorney General or his
                               designated representative for confinement in a corrections facility.
                               Signed by Magistrate Judge Brian K. Epps on 02/12/2020. (jlh)
                               (Entered: 02/12/2020)
 23        02/12/2020          BRIEF OPPOSING NO CONTACT PROVISION by Michael
                               Peyton Gunn (Merzlak, Shawn) (Entered: 02/12/2020)
 24        02/13/2020          MOTION by Government to Withdraw Motion to Restrict
                               Defendant's Contact With Witnesses by Tara M. Lyons as to
                               Michael Peyton Gunn, 209 Nicklaus Court, Evans, Georgia.
                               Responses due by 2/27/2020. (Lyons, Tara) Modified on
                               2/13/2020 (jlh). (Entered: 02/13/2020)
 25        02/14/2020          ORDER granting 24 Motion by Government to Withdraw Motion to
                               Restrict Defendant's Contact With Witnesses; furthermore, the
                               Court lifts its restriction on contact between Defendant and his
                               wife imposed in the 21 Order. The restriction on communication
                               with the alleged minor victim shall remain in full force and effect.
                               Signed by Magistrate Judge Brian K. Epps on 02/14/2020. (jlh)
                               (Entered: 02/14/2020)
 26        07/08/2022          CJA 20 as to Michael Peyton Gunn: Authorization to Pay Shawn
                               M Merzlak. Amount: $1,163.40, Voucher #113J.1405996. Signed
                               by Magistrate Judge Brian K. Epps on 7/6/22. (slt) (Entered:
                               07/08/2022)

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                                         DOCKET ENTRY #3



                 Magistrate Court Criminal Complaint

                                                       (REDACTED)
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                                       DOCKET ENTRY #18



                        Magistrate Court Clerk's Minutes

                           Initial Appearance / Complaint
                 Case 1:20-mj-00007-BKE Document 18 Filed 02/11/20 Page 1 of 1
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                               UNITED STATES25DISTRICT
                                                 Date Filed:
                                                        COURT01/09/2023 Page: 27 of 27
                               SOUTHERN DISTRICT OF GEORGIA
                                               CLERK==S MINUTES

CASE NO.: 1:20mj7                                                         DATE: 02/11/2020
UNITED STATES OF AMERICA                                                  TIMES: 2:02 - 2:16
V.

MICHAEL PEYTON GUNN


Honorable: Brian K. Epps, United States Magistrate Judge Courtroom Deputy: Morgan Akins
Court Reporter: FTR                                          Law Clerk/Interpreter:
Probation Officer: Enoch Eller                               Security: Ingram/Williams/Keen

Attorney for Government: Tara Lyons
Attorney for Defendant(s): Shawn Merzlak


PROCEEDINGS:             INITIAL APPEARANCE/COMPLAINT
 ✔       All parties present and ready to proceed        ✔ Court finds defendant competent to proceed
 ✔       Defendant advised of rights                     ✔ Defendant advised of charges/allegations in Affidavit
 ✔       Defendant advised of right to preliminary hearing
 ✔       Defendant waives preliminary hearing
         Preliminary Hearing scheduled for:

 ✔       Government moves for detention
         Detention Hearing scheduled for:
         Detention Hearing held
Witness for the Govt:                                                            Witness sworn

Witness for the Deft:                                                            Witness sworn

         Defendant Detained Pending Detention Hearing

 ✔       Defendant Detained Pending Trial.

 ✔       Defendant remanded to custody of US Marshal
Notes:
